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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

               Plaintiff,                          Case No. 10-20705-01
 v.
                                                          Hon. Robert H. Cleland
 FATIMA TOUFAILI,

            Defendant.
 ____________________________/


                  ORDER GRANTING REQUEST FOR CONTACT VISIT

        Defendant Fatima Toufaili has requested that a contact visit be permitted

 between her and her minor children, and a date and time to be determined by the

 Sanilac County Sheriff and the U.S. Marshal. The date, time, duration and conditions of

 the visit will be at the discretion of the Sheriff and the U.S. Marshal and subject to

 modification and/or cancellation in response to a security assessment. The government

 does not take a position on this request, now, therefore:

        IT IS ORDERED that the request is granted, and the Sanilac County Sheriff is

 permitted to arrange a contact visit between Fatima Toufaili and her three minor

 children, Hussein Darwich, Nichole Darwich, and Carol Darwich, with her mother Afaf

 Toufaili, at a time and date to be determined by the Sheriff and the U.S. Marshal,

 subject to modification and/or cancellation in response to a security assessment.

                                             S/Robert H. Cleland
                                            ROBERT H. CLELAND
                                            UNITED STATES DISTRICT JUDGE


 Dated: June 5, 2012
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 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 and/or pro se parties on this date, June 5, 2012, by electronic and/or ordinary mail.


                                          S/Lisa Wagner
                                         Case Manager and Deputy Clerk
                                         (313) 234-5522




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